 

case 3:17-cv-00461-REP-RCY Documem 131 Filed 09/11/13 Pag|ie'lasfeztl@aged>#I442"`)'mth?hi"7""§

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVlL RULE 83.l(D) AND LOCAL
CRIMINAL RULE 57.4
111 CaSC Number M , CaS€ Name V\h|liams et al. v. Big Picture Loans, LLCl et al.
Party Represented by Applicant: P|aintiffs

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

 

 

 

PERSONAL STATEMENT
FULL NAME (no initials, please) J°hn Gera*'d Albane$e
Bar ldentification Number 0395882 State Minnesota
Firm Name Berger Montague -
Firrn Phone # 612-594-5999 Direct Dial # 612-594-5997 FAX # 612_534_4470

 

 

 

E-l\/lail AddreSS ia|banese@bm.net
Office Mailing Address 43 SE Main Street, Suite 505, Minneapo|is, MN 55414

Name(s) of federal court(s) in Which l have been admitted See Attachment.

l certify that the rules of the federal court in the district in Which l maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

l have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

l hereby certify that, Within ninety (90) days before the Submission of this application, l have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the F ederal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

X _ . . . . . . .
l am am not a full time employee of the Umted States of America, and if s(&requi§§tg§;cj“m‘§on from the admission fee.

(Applicant’s Signature)

 

I, the undersigned, do certify that l am a member of the bar of this Court, not related to the applicant; that l know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that l have
examined the applicant’s personal statement l affirm that his/her personal and pr ~ ssional character and standing are good, and

petition the court to admit the applicant pro hac vice. `
(Z[/l[{il :
Da e)

 

 

 

(Signature)
Kristi C. Kelly 72791
(Typed or Printed Name) (VA Bar Nuniber)
Court Use Only:
Clerk’s Fee Paid or Exemption Granted
The motion for admission is GRANTED or DENIED

 

 

(Judge’s Signature) (Date)

 

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Attachment to John G. Albanese Pro Hac Vz'ce Application

F ederal Courts Admitted In:

U.S.D.C. D. Minnesota
U.S.C.A. Ninth Circuit
U.S.C.A. Seventh Circuit
U.S.D.C. E.D. Michigan
U.S.D.C. Nebrasl<a
U.S.D.C. W.D.N.Y.
U.S.D.C. E.D. Wisconsin
U.S.D.C. C.D. lllinois
U.S. Supreme Court

 

